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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                        No. 4:17-CR-00403

      v.                                         (Judge Brann)

RAYMOND KRAYNAK,

           Defendant.

                                   ORDER

                               AUGUST 10, 2021

     In accordance with the accompanying Memorandum Opinion of this same

date, IT IS HEREBY ORDERED that:

     1.    Raymond Kraynak’s motion in limine (Doc. 119) is GRANTED in part

           and DENIED in part;

     2.    Kraynak’s motion is GRANTED with respect to evidence related to

           the referral from Health Integrity, LLC; and

     3.    Kraynak’s motion is DENIED in all other respects.



                                           BY THE COURT:


                                           s/ Matthew W. Brann
                                           Matthew W. Brann
                                           Chief United States District Judge
